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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 COMMONWEAL TH OF
 MASSACHUSETTS, et al.,

                               Plaintiffs,
                                                             No. 1:25-cv-10814-WGY
        V.

 ROBERT F. KENNEDY, JR. , et al. ,

                               Def endants.


 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al. ,

                               Plaintiffs,

        V.                                                   No. 1:25-cv-10787-WGY

 NATIONAL INSTITUTES OF
 HEAL TH, et al. ,

                               Defendants.


              JOINT M0ffUOf • NQ STIPULATED PROTECTIVE ORDER

       Defendants in the above actions produced certain administrative-record documents (i.e.,

NIH_GRANTS_00000l to NIH_GRANTS_003824) to plaintiffs via secure file-transfer on June

2, 2025, and to the Court via CD-ROM on June 3, 2025. One document within that production,

located at NIH_ GRANTS_003438 through NIH_GRANTS_003444 ("UMN Letter"), contains

information about a nonparty graduate student at the University of Minnesota. The plaintiffs in

No. 25-10814 ("State Plaintiffs"), the plaintiffs in No. 25-10787 ("APHA Plaintiffs"), and the

defendants in both cases ("Federal Defendants") agree that good cause exists to maintain the name,

identifying information, and descriptions of personal and famil y medical information concerning

that student under seal, because said information is confidential, nonpublic information pertaining
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to a nonparty. The parties have prepared an agreed-upon redacted version of the UNM Letter that

redacts said confidential, nonpublic information ("Confidential Information").

       Wherefore, the parties stipulate, and hereby move the Court to order, that:

       1.      Unless otherwise ordered by the Court or permitted in writing by plaintiff the State

of Minnesota, the unredacted version of the UMN Letter and the Confidential Information therein

may be disclosed only to (i) attorneys for the State Plaintiffs, APHA Plaintiffs, and Federal

Defendants, (ii) attorneys, legal assistants, and clerical employees working under the supervision

of said attorneys, (iii) the Court and court personnel in the above cases, (iv) any employee of any

third-party service contractors (such as document copy services) involved in organizing, filing,

coding, converting, storing, or retrieving data in the above cases, (v) any other person to whom

disclosure is required by court order or applicable provision of law, provided that, before making

any disclosure under this subparagraph (v), the disclosing party shall notify plaintiff the State of

Minnesota (through its counsel of record in No. 25-10814) at least 10 business days before said

disclosure. The non-disclosure obligations in this paragraph 1 shall survive the termination of the

above cases, i.e., any party maintaining any litigation documents containing the unredacted UMN

Letter or Confidential Information shall do so in accordance with this paragraph 1.

       2.      The non-disclosure obligations in paragraph 1 do not extend to the author or

recipient of the unredacted UMN Letter or other persons who independently possessed or knew

the Confidential Information.

       3.      In filing the administrative record on the public ECF docket in this case, the Federal

Defendants shall file the agreed-upon redacted version of the UMN Letter only. The Federal

Defendants have already provided an unredacted version of the UMN Letter to the Court, which

the Court will maintain under seal.




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       4.        Any party making any other filing in this case that references any Confidential

Information shall redact any Confidential Information from the public version of said filing.



                                                     It is so ordered.

June IC , 2025




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June 15, 2025                                     Respectfully submitted.

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